     Case 1:16-cr-00007-MW-GRJ         Document 105   Filed 09/22/16   Page 1 of 1


          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                              Case No. 1:16cr7-MW/GRJ-4

TICCO EARL WRIGHT,

             Defendant.
                                   /

                    ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate

Judge, ECF No. 104, to which there has been no timely objections, and subject to

this Court’s consideration of the plea agreement pursuant to Fed.R.Crim.P.

11(e)(2), the plea of guilty of the Defendant to Counts 1, 12, and 22 of the

Indictment against him is hereby ACCEPTED. All parties shall appear before

this court for sentencing as directed.

       SO ORDERED on September 22, 2016.

                                         s/Mark E. Walker             ____
                                         United States District Judge
